                                                                                2/15/2019
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                LYNCHBURG DIVISION


JAMES JONES,

                                            Plaintiﬀ,


v.                                                       Case No. 6:19CV00006

LIBERTY UNIVERSITY, INC.,
SERVE:   David M. Corry, Registered Agent
         1971 University Blvd.                           DEMAND FOR JURY TRIAL
         Liberty University
         Lynchburg, VA 24502
                                            Defendant.


                                            COMPLAINT




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 I.      SUMMARY OF ACTION

 1.      Plaintiﬀ James Jones brings this action against Defendant Liberty University,

 Inc. (“Liberty”), to remedy employment discrimination against him on the basis of his

 disability (autism), including his record of disability and/or being regarded as having a

 disability, and/or retaliating against him for engaging in protected activities, and/or

 failing to accommodate his disability, in violation of the Americans with Disabilities

 Act, as amended, 42 U.S.C. §§ 12101, et seq. (“ADA”).

 II.     JURISDICTION AND VENUE

 2.      Ze Court has jurisdiction over this action pursuant to Title I of the Americans

 with Disabilities Act of 1990, 42 U.S.C. § 12117(a), and 28 U.S.C. § 1331.

 3.      Zis Court may properly maintain personal jurisdiction over Liberty, because

 Liberty’s contacts with this state and this judicial district are sufficient for the exercise

 of jurisdiction over Liberty to comply with traditional notions of fair play and

 substantial justice.

 4.      Venue is proper in this judicial district under 28 U.S.C. § 1391. Jones was

 employed by Liberty in this judicial district, and a substantial part of the events or

 omissions giving rise to his claims occurred in this judicial district.

 III.    INTRADISTRICT ASSIGNMENT

 5.      Venue is proper in the Lynchburg Division under Local Civil Rule 2(b) because

 Liberty employed Jones in this division, and a substantial part of the events or

 omissions that gave rise to this action occurred in this division.

 IV.     PARTIES

 A.      PLAINTIFF

 6.      Plaintiﬀ James Jones is a resident of Virginia and citizen of the United States.


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 From approximately August 2009 to March 8, 2017, Jones worked for Liberty in

 Lynchburg, Virginia, as an Associate Professor of Computer Science. Liberty decided to

 terminate Jones’ employment after learning that Jones had been diagnosed with autism

 and after learning that Jones was requesting accommodations for this disability.

 7.     Ze essential functions of Jones’s position entailed teaching Computer Science

 courses to undergraduate students at Liberty.

 8.     Jones has a disability, autism (also known as Autism Spectrum Disorder). Jones’

 autism substantially limits his ability to perform certain major life activities, including,

 among others, his brain function and ability to engage socially with others.

 9.     Jones is a qualiﬁed individual with a disability. During his employment with

 Liberty, Jones built a strong reputation for his Christian faith (Liberty is a Christian

 university that places high value on faculty members’ Christian faith), rapport with his

 co-workers, and a solid record of performance. For example, in 2015, Jones’ students

 scored in the top 4% of approximately 200 universities nationwide on the Educational

 Testing Service’s Major Field Achievement Test for computer programming. During his

 time at Liberty, Jones also published approximately 10 peer-reviewed articles in

 academic journals and conference proceedings, and made research presentations at

 numerous international conferences.

 10.    Of the eight full-time faculty in Liberty’s Computational Sciences Department,

 Jones was one of only two instructors to hold a PhD in Computer Science, and one of

 only two instructors to publish in scholarly journals.

 B.     DEFENDANT

 11.    Defendant Liberty University, Inc. is a Virginia corporation with its principal

 oﬃce located at 1971 University Blvd, Lynchburg Virginia 24515.


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 12.    Liberty is an employer within the meaning of the ADA.

 13.    Liberty is engaged in an industry aﬀecting commerce and has had 15 or more

 employees for each working day in each of 20 or more calendar weeks in the current or

 preceding calendar year.

 14.    Liberty has had more than 500 employees in each of 20 or more calendar weeks

 in the current or preceding calendar year.

 15.    Liberty employed Jones as an Associate Professor of Computer Science from

 approximately August 2009 to March 8, 2017.

 16.    At all times relevant herein, Liberty acted by and through its agents, servants,

 and employees, each of who acted at all times relevant herein in the course and scope of

 their employment with Liberty.

 V.     EXHAUSTION OF ADMINISTRATIVE REMEDIES

 17.    Jones exhausted his administrative remedies by ﬁling a charge of discrimination

 with the U.S. Equal Employment Opportunity Commission on or about December 19,

 2017 (Charge No. 438-2018-00387). Ze Charge alleges that Liberty continuously failed

 to accommodate Jones’ disability, discriminated against him on the basis of disability,

 and/or retaliated against him for engaging in protected activity, in violation of the

 Americans with Disabilities Act.

 18.    Ze EEOC issued a Notice of Suit Rights on November 28, 2018, which is fewer

 than 90 days before the ﬁling of this Complaint. A copy of the Notice of Suit Rights is

 attached as Exhibit 1.

 VI.    FACTS

 A.     Jones Notiﬁes Liberty of His Autism and Requests Accommodations

 19.    Jones has autism. Autism is a disability. Jones’ autism substantially limits his


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 ability to perform certain major life activities, including, among others, his brain

 function and ability to engage socially with others.

 20.    Jones was ﬁrst formally diagnosed with autism by a neuropsychologist, in the

 summer of 2015, although there were consistent indications of this condition

 throughout his work and life. For example, Jones’ autism impairs his ability to engage

 socially with others. As a consequence of this impairment, Jones did not always receive

 the highest ratings in his student evaluations, as such evaluations are, in many respects,

 largely a measure of the teacher’s social skills and popularity among students, rather

 than a measure of the teacher’s eﬀectiveness in teaching the curriculum.

 21.    Jones ﬁrst disclosed his autism informally to his supervisor, Dean David

 Donahoo, in summer 2015, shortly after Jones was ﬁrst diagnosed with this impairment.

 Donahoo was Dean of Liberty’s School of Engineering and Computational Science.

 22.    In or about May 2016, Dean Donahoo and Jones’ immediate supervisor, Jerry

 Westfall, met with Jones to discuss Jones’ student evaluations for the three most recent

 semesters and in the future. Donahoo identiﬁed four speciﬁc student evaluation

 questions on which he wanted Jones to improve. Donahoo told Jones that he was simply

 looking for “positive improvement” in these areas, rather than a speciﬁc score on the

 questions. Donahoo told Jones that he would be re-evaluated after receiving Jones’

 student evaluations for the fall 2016 semester.

 23.    Because Jones was concerned about the role his autism played in his ability to

 garner high scores in student evaluations, during the May 2016 meeting with Donahoo,

 Jones again informed Donahoo that he had autism.

 24.    During the May 2016 meeting with Donahoo, Jones requested reasonable

 accommodations for his disability. For example, Jones requested that his autism and


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 attendant limitations be taken into account in assessing his scores on student

 evaluations.

 25.    Despite Jones’ requests for accommodation, at no time did anyone from Liberty

 engage in an interactive process with Jones or have a conversation with Jones to discuss

 his requests or identify possible reasonable accommodations.

 26.    When Jones notiﬁed Dean Donahoo of his autism during the May 2016 meeting

 and requested accommodations for this disability, Donahoo responded by telling Jones

 that if he was autistic, “maybe you shouldn’t be a college professor.”

 B.     Jones Continues to Request Accommodations for His Autism

 27.    On multiple occasions between May 2016 and fall 2016, Jones again informed

 Donahoo and Westfall of his disability and requested reasonable accommodations. For

 example, Jones continued to request that his autism be taken into account in assessing

 his scores on student evaluations.

 28.    Early in the fall semester 2016, Jones again notiﬁed Liberty of his disability and

 request for accommodations by submitting a written Employee Request for

 Accommodation regarding his autism. Jones submitted this written request for

 accommodation shortly after meetings and communications with Donahoo and Westfall,

 in which Jones discussed his autism and need for accommodations with Donahoo and

 Westfall.

 29.    In his written accommodation request, Jones again explained that he believed his

 autism made it more diﬃcult for him (compared to professors without autism) to garner

 high scores on student evaluations. Jones explained his concern that student evaluations

 were often a measure of social skills and likeability, and his autism impaired his social

 skills and perceived likeability. In the written accommodations request, Jones requested


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 “A lower threshold by which to judge my teaching eﬀectiveness. I also need the love,

 patience, understanding, and respect of my superiors.”

 C.     Je Dean Indicates Intent to Recommend Non-Renewal After Learning of
        Jones’ Autism and Requests for Accommodation

 30.    After multiple communications and meetings beginning in May 2016 in which

 Jones notiﬁed Donahoo and Westfall of his disability and desire for accommodations,

 and shortly after Jones submitted his written Employee Request for Accommodation,

 Dean Donahoo communicated to the Oﬃce of the Provost Donahoo’s intent to

 recommend that Jones not be oﬀered a contract for the following school year. Donahoo

 made this recommendation even though Jones met or exceeded all performance targets

 for fall 2016 student evaluations as speciﬁed in their May 2016 meeting.

 D.     Liberty Continuously Denies Jones’ Accommodation Requests Without
        Engaging in an Interactive Process

 31.    Liberty did not provide Jones with a written response to his request for

 reasonable accommodations until on or about December 31, 2016, which was more than

 two months after Jones submitted his written request and more than six months after

 Jones ﬁrst requested accommodations. On or about December 31, 2016, Steve Foster

 from Liberty’s Human Resources department provided Jones with a brief written

 response, stating that Jones’ request for accommodation was denied.

 32.    Despite Jones’ repeated requests for accommodation, at no time did anyone from

 Liberty engage in an interactive process with Jones or have a conversation with Jones to

 discuss his requests or identify possible reasonable accommodations.

 33.    Liberty continuously denied Jones’ requests for accommodation without

 discussing the requests with Jones or having a conversation with Jones about possible

 reasonable accommodations or possible alternatives to the accommodations Jones had



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 requested. From May 2016, when Jones ﬁrst requested accommodations, until the end

 of Jones’ employment, Liberty continuously failed to engage in an interactive process

 with Jones and continuously denied Jones a reasonable accommodation.

 34.    Liberty could have accommodated Jones’ disability by, for example, agreeing to

 take into account the limitations of Jones’ autism in assessing his student evaluation

 scores. Liberty could have granted this accommodation without incurring any undue

 hardship. Zere would have been no signiﬁcant monetary cost to Liberty in granting this

 accommodation.

 35.    Liberty denied Jones’ request for accommodation without providing or

 suggesting any reasonable alternatives to Jones’ requested accommodations.

 36.    Liberty continued to deny Jones any accommodation for his disability through

 the end of his employment.

 E.     Jones Exceeds Liberty’s Performance Targets

 37.    Following the meeting with Dean Donahoo in May 2016, in which Donahoo

 requested that Jones work to improve his student evaluation scores, Jones worked hard

 and improved his student evaluation scores as Donahoo had requested.

 38.    In the fall 2016 semester — the ﬁrst semester after Donahoo requested in May

 2016 that Jones work to improve his student evaluation scores in future semesters —

 Jones went above and beyond the improvements Donahoo had requested. Donahoo had

 requested improvement on four speciﬁc student evaluation questions. Jones not only

 exceeded the requested improvements on those four questions, he improved his scores

 on all ten student evaluation questions.

 39.    In the fall 2016 semester, Jones improved his student evaluation scores more

 than requested even as Liberty denied him any accommodation for autism, a disability


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  which it knew could limit his ability to garner high scores on student evaluations.

  40.    At the time of his termination, Jones was performing his job at a level that met

  or exceeded Liberty’s legitimate expectations, even without any accommodations in

  place for his autism.

  F.     Liberty Notiﬁes Jones of His Termination

  41.    On or about March 8, 2017, Liberty informed Jones it was terminating his

  employment. Jones received this information in a meeting hosted by Steve Foster and

  attended by Ron Sloan and university Vice President Mann. When Jones asked for a

  reason for his termination, Dr. Mann stated that the reason was his performance. Zis

  explanation was pretextual. Jones had met or exceeded all performance goals set for

  him and had performed and was performing his job in a manner that satisﬁed Liberty’s

  legitimate expectations.

  42.    Dr. Mann speciﬁcally indicated the termination was somehow because of Jones’

  student evaluations in the fall 2016 semester. Dr. Mann stated, “You’ve been talking

  with David [Donahoo] about these matters for some time.” Zis explanation was

  pretextual, as Jones had more than improved his student evaluation scores as requested.

  Jones had met or exceeded all performance goals set for him and had performed and

  was performing his job in a manner that satisﬁed Liberty’s legitimate expectations.

  43.    Liberty decided to terminate Jones, at least in part, on the basis of his disability,

  including Jones being regarded as having a disability and/or because of Jones having a

  record of disability, and/or because of his requests for reasonable accommodations.

  44.    As a result of Liberty’s discrimination and/or retaliation, Jones suﬀered lost

  wages and beneﬁts, emotional distress, personal and professional humiliation,

  inconvenience, curtailment of career opportunities, and other damages.


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  45.     Liberty is liable for its actions, which constitute disability discrimination and/or

  retaliation for engaging in protected activity, in violation of the Americans with

  Disabilities Act, as amended, 42 U.S.C. §§ 12101, et seq.


  VII.    CLAIMS

                              COUNT ONE
          DISABILITY DISCRIMINATION (WRONGFUL TERMINATION)

  46.     Ze foregoing paragraphs are incorporated herein as if set forth in full.

  47.     Jones has a disability, autism. At all times relevant, Jones’ disability rendered

  him a qualiﬁed individual with a disability under the ADA.

  48.     At all times relevant, Liberty had notice of Jones’ disability and its attendant

  limitations, including that Jones’ autism limited his brain function and ability to engage

  socially with others.

  49.     At all times relevant, Jones was perceived by Liberty to be suﬀering from a

  disability and regarded by Liberty as suﬀering from a disability.

  50.     At all times relevant, Jones was perceived by Liberty as having a record of a

  disability.

  51.     At all times relevant, Jones was a qualiﬁed individual for the employment in

  question.

  52.     Liberty terminated Jones’ employment, at least in part, on the basis of Jones

  suﬀering from a disability and/or perceived disability, and/or having a record of a

  disability and/or perceived disability.

  53.     At the time Liberty terminated Jones’ employment, Jones was performing his

  job at a level that met Liberty’s legitimate expectations.

  54.     Liberty unlawfully discriminated against Jones by terminating his employment,


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  at least in part, on the basis of disability.

  55.     Liberty would not have terminated Jones’ employment but for Jones’ disability

  and/or perceived disability, and/or but for Jones’ having a record of a disability and/or

  perceived disability.

  56.     Ze foregoing actions by Defendant constitute violations of the ADA.

  57.     As a result of the foregoing, Plaintiﬀ has suﬀered damages.


                                         COUNT TWO
                                         RETALIATION

  58.     Ze foregoing paragraphs are incorporated herein as if set forth in full.

  59.     Jones engaged in protected activity under the ADA by requesting

  accommodations for his disability

  60.     Liberty took an adverse employment action against Jones by terminating his

  employment.

  61.     Liberty took away Jones’ employment, at least in part, because of Jones’

  requests for accommodation.

  62.     Liberty would not have terminated Jones’ employment but for Jones’ requests

  for accommodation.

  63.     Ze foregoing actions by Defendant constitute violations of the ADA.

  64.     As a result of the foregoing, Plaintiﬀ has suﬀered damages.



                             COUNT THREE
         DISABILITY DISCRIMINATION (FAILURE TO ACCOMMODATE)

  65.     Ze foregoing paragraphs are incorporated herein as if set forth in full.

  66.     Jones has a disability, autism.




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  67.    At all times relevant, Liberty had notice of Jones’ disability.

  68.    Jones was able to perform the essential functions of his job with reasonable

  accommodations. For example, the essential functions of Jones’ position entailed

  teaching Computer Science courses to undergraduate students at Liberty. Jones could

  have performed these functions with or without a reasonable accommodation that, for

  example, involved Liberty taking into account his autism in assessing his scores on

  student evaluations. Even though this would have been a reasonable accommodation for

  Liberty to make, and Liberty did not make this or any other accommodation, Jones still

  performed well and exceeded the performance targets Liberty set for his student

  evaluation scores.

  69.    Jones asked Liberty for reasonable accommodations of his disability. Jones

  requested reasonable accommodations verbally and by other communications on

  multiple occasions beginning in or about May 2016, and continued to request

  reasonable accommodations in a written form he submitted early in the fall 2016

  semester.

  70.    Liberty could have reasonably accommodated Jones’ disability without incurring

  any undue hardship. Zere would have been no signiﬁcant monetary cost to Liberty in

  granting the accommodation Jones requested.

  71.    Liberty failed to provide such a reasonable accommodation, or any reasonable

  alternative accommodation, for Jones’ disability.

  72.    Ze aforesaid actions by Defendant constitute violations of the ADA.

  73.    As a result of the foregoing, Plaintiﬀ has suﬀered damages.




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  VIII. DAMAGES

  74.     As a result of Liberty’s discrimination, retaliation, and failure to accommodate

  described herein, Jones has suﬀered emotional distress and mental anguish, curtailment

  of career opportunities, personal and professional humiliation, lost past and future

  wages and beneﬁts, and other damages.

  75.     Defendant’s conduct described herein was willful, deliberate, malicious, and

  outrageous, so as to make an award of punitive damages appropriate.

                                  PRAYER FOR RELIEF

  76.     Accordingly, Plaintiﬀ prays for judgment in his favor and against Defendant:

  A.      Declaring that Defendant violated the Americans with Disabilities Act by

  discriminating against Plaintiﬀ on the basis of disability, and/or retaliating against

  Plaintiﬀ for engaging in protected activity, and/or by failing to accommodate Plaintiﬀ’s

  disability;

  B.      Awarding Plaintiﬀ compensatory damages in an amount to be proven at trial,

  plus interest thereon;

  C.      Awarding Plaintiﬀ punitive damages in an amount to be proven at trial, plus

  interest thereon;

  D.      Awarding Plaintiﬀ lost past and future wages and beneﬁts as a result of

  Defendant’s discrimination and/or retaliation, plus interest thereon;

  E.      Awarding Plaintiﬀ the costs of bringing and maintaining this civil action and the

  investigation that preceded it, including reasonable attorneys’ fees and costs;

  F.      Awarding Plaintiﬀ pre- and post-judgment interest;

  G.      Enjoining Defendant from discriminating or retaliating against Plaintiﬀ in the


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  future; and

  H.       Awarding Plaintiﬀ such other and further relief as the interests of justice may

  require.

                               DEMAND FOR JURY TRIAL

           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiﬀ demands a jury trial

  for all claims and issues so triable.

                                          Respectfully submitted,

                                          JAMES JONES,
                                          By Counsel

  Dated:          February 15, 2019

    /s/Timothy Coﬃeld
    Timothy Coﬃeld (VSB 83430)
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                                     CERTIFICATE

  I HEREBY CERTIFY that a true and correct copy of the foregoing Complaint will be
  delivered to a qualiﬁed process server with instructions to serve the same upon the
  Defendant or its authorized agents at the following address:

                         David M. Corry, Registered Agent
                         1971 University Blvd.
                         Liberty University
                         Lynchburg, VA 24502

  /s/Timothy Coﬃeld
  Counsel for Plaintiﬀ




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